UNITED STATES DISTRICT COURT
DISTRICT OF MINNESOTA
Case No. 24-mj-866 JTH

UNITED STATES OF AMERICA,

Plaintiff, FILED UNDER SEAL
v. PURSUANT TO ORDER
ERIC SCOTT PETERSON, MOTION TO SEAL
Defendant.

The United States of America, by its attorneys, Andrew M. Luger, United States
Attomey for the District of Minnesota, and Nichole J. Carter, Assistant United States
Attomey, respectfully submits this motion to file the Complaint and accompanying
Affidavit of Special Agent, Steve Noldin, under seal.

The United States seeks to seal the Complaint and affidavit because the defendant,
Eric Scott Peterson, is not yet in federal custody. Law enforcement officers investigating
this case have expressed serious concern that if the Complaint and Affidavit are made
public, and Eric Scott Peterson is alerted of his impending arrest on the federal warrant,
there is a safety risk to Eric Scott Peterson and law enforcement taking him into federal
custody.

Dated: December 20, 2024 Respectfully submitted,
ANDREW M. LUGER

United States Attorney

s/ Nichole J. Carter
BY: NICHOLE J. CARTER
Assistant U.S. Attorney

